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Attorney for the Defendant
Claudia Garcia


                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                 Civil No. 2:19-cv-09356
                 Plaintiff,               Criminal No. CR13-484-CAS
       v.                                 PETITION FOR WRIT OF ERROR
                                          CORAM NOBIS
CLAUDIA GARCIA,
                 Defendant.



            PETITION FOR WRIT OR ERROR CORAM NOBIS
      Ms. Claudia Garcia brings this petition for writ or error coram nobis
pursuant to 28 USC § 1651(a) in order to have her guilty plea, in violation of USC
§ 846 and 21 USC § 841 (b)(1)(C), vacated. Her allegations in this petition
demonstrate her guilty plea should be vacated because:

      • Ms. Garcia only pled guilty and accepted the sentence after her attorney
        failed to inform her that the guilty plea would result in virtually certain
        deportation. Further, she was led to believe that there was a mere
        possibility of deportation, but no assurance that she would be deported if
        she pled guilty. On the contrary, her attorney did inform her that she
        would certainly be deported if she did not plead guilty. Clearly, this
        advice was in error because 21 USC § 841(b)(1)(C) is an aggravated
        felony that renders the noncitizen mandatorily deportable without the
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          possibility of requesting discretionary relief from an immigration judge.
          Had the defendant been properly advised of the mandatory consequence
          of her conviction, she would have rejected the plea and gone to trial or
          requested her attorney attempt to negotiate a disposition that would not
          have the same immigration impact.

Consequently, her claim warrants granting relief. Because the documented
evidence in this case is clear, this court should be able to grant relief without an
evidentiary hearing. In the alterative, taking these allegations as true, as this court
must do at this stage of the litigation, Ms. Garcia must be allowed to prove her
allegations at an evidentiary hearing.




WHEREFORE, Petitioner prays that the grant Petitioner/Defendant relief to which
she may be entitled to in this proceeding. I declare under penalty of perjury that
the foregoing is true and correct to the best of my knowledge.


                                         Respectfully Submitted,




Dated: 10/31/19                          By ____/s/ Andres Ortiz____________
                                            Andres Ortiz, Esq.
                                            Andres Ortiz Law
                                            Attorney for Claudia Garcia
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                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                        Civil No. 2:19-cv-09356
                    Plaintiff,                    Criminal No. CR13-484-CAS
        v.                                        CERTIFICATE OF SERVICE

 CLAUDIA GARCIA,
                    Defendant.

       I, Andres Ortiz, am a citizen of the United States and am at least eighteen years of age. I
certify that the foregoing pleading has been electronically served this day upon counsel for the
Government.


October 31, 2019                          Respectfully submitted,


                                           By

                                                 /s/ Andres Ortiz
                                              Andres Ortiz, Esq.
                                              Attorney for Claudia Garcia
